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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   NED SMOCK, Bar # 236238
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     JEREMIAH URCH
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )   No. 2:07-cr-00036-MCE
                                        )
12                   Plaintiff,         )
                                        )   STIPULATION AND ORDER
13        v.                            )
                                        )
14   ANDREA WEATHINGTON; and            )
     JEREMIAH URCH,                     )   Date: March 27, 2007
15                                      )   Time: 8:30 A.M.
                                        )   Judge: Hon. Morrison C. England
16                                      )
                    Defendants.
17   _______________________________
18        IT IS HEREBY STIPULATED by and between the parties hereto through
19   their respective counsel, ROBIN TAYLOR, Assistant United States
20   Attorney, attorney for Plaintiff; ROBERT HOLLEY, attorney for defendant
21   Andrea Weathington; and NED SMOCK, Assistant Federal Defender, attorney
22   for defendant Jeremiah Urch, that the current Status Conference date of
23   March 6, 2007 be vacated and a new date of March 27, 2007 be set for
24   status.   The government provided more than 800 pages of discovery to
25   the defendants last week.     Both defendants need time to review the
26   discovery and perform necessary investigation.
27        It is further stipulated and agreed between the parties that the
28   period between March 6, 2007 and March 27, 2007, should be excluded in
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 1   computing the time within which the trial of the above criminal
 2   prosecution must commence for purposes of the Speedy Trial Act for
 3   defense preparation.       All parties stipulate and agree that this is an
 4   appropriate exclusion of time within the meaning of Title 18, United
 5   States Code, Section 3161(h)(8)(iv) (Local Code T4).
 6   Dated: March 5, 2007
                                               Respectfully submitted,
 7
                                               DANIEL J. BRODERICK
 8                                             Federal Defender
 9
                                                    /s/ Ned Smock
10                                             NED SMOCK
                                               Assistant Federal Defender
11                                             Attorney for Defendant
                                               JEREMIAH URCH
12
13                                             /s/ Ned Smock for Robert Holley
                                               ROBERT HOLLEY
14                                             Attorney for Defendant
                                               ANDREA WEATHINGTON
15
16                                             MCGREGOR W. SCOTT
                                               United States Attorney
17
     Dated:    March 5, 2007
18                                             /s/ Ned Smock for Robin Taylor
                                               ROBIN TAYLOR
19                                             Assistant U.S. Attorney
20
                                             ORDER
21
     IT IS SO ORDERED.
22
23   Dated: March 8, 2007

24
                                             _____________________________
25                                           MORRISON C. ENGLAND, JR.
26                                           UNITED STATES DISTRICT JUDGE

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